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                                                                              2015 Aug-24 PM 03:34
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA
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 6    In Re:
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 8    Fairfield Shopping Center,                   LLC
 9

10
11           EXAMINATION UNDER OATH OF JOSEPH SCHNEERSON
12                          Los Angeles,            California
13                        Wednesday,           April 18,         2012
14                                       Volume I
15
16
17
18
19
20
21    Reported by:
22    CATHRYN L.      BAKER
23    CSR No.    7695
24    Job No.    141218A
25    PAGES 1 - 73

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 5    In Re:
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 7    Fairfield Shopping Center, LLC
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15                      Examination Under Oath of JOSEPH
16   SCHNEERSON, Volume I, taken on behalf of American
17   Safety Indemnity Company, at 835 Wilshire Boulevard,
18   Los Angeles, California, beginning at 9:25A.M. and
19    ending at 10:50 A.M. on Wednesday, April 18, 2012,
20   before Cathryn L. Baker, Certified Shorthand
21   Reporter No. 7695.
22

23
24

25

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 1    APPEARANCES:
 2
 3    For American Safety Indemnity Company:
 4        BOVIS KYLE & BURCH,             LLC
 5        BY:     STEVEN J.      KYLE,      ESQ.
 6        200 Ashford Center North
 7        Suite 500
 8        Atlanta,     Georgia 30338-2668
 9        (770)    668-0878
10        kyle@boviskyle.c om
11

12    For GE Commercial Finance Business Property Corp:
13        ADAMS AND REESE LLP
14        BY:     STEPHEN A.       ROWE,      ESQ.
15        2100 Third Avenue North
16        Suite 1100
17        Birmingham, Alabama 35203-3367
18        (205)    250-5000
19        steve.rowe@arlaw .com
20
21   Also Present:
22        Dora R.    Sher
23
24

25


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 1                                        INDEX
 2    WITNESS                                                 EXAMINATION
 3

 4    JOSEPH SCHNEERSON
 5

 6                       (By Mr. Kyle)                                    6

 7                       (By Mr. Rowe)                                   58

 8

 9

10                                    EXHIBITS
11   NUMBER                                                                      PAGE
12   Exhibit 1          Commercial Package Binder                                 39

13

14    Exhibit 2         ACORD Property Loss Notice                                49

15

16   Exhibit 3          November 16, 2011 e-mail to
17                      Steven Riss from Dora Sher
18                      with attachments                                          53

19

20   Exhibit 4          Invoice with Evidence of
21                      Property Insurance                                        61
22

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24

25


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 1     Wednesday, April 18, 2012; Los Angeles, California
 2                                    9:25A.M.
 3                                    -- oOo --

 4

 5                           JOSEPH SCHNEERSON,
 6   the witness, having been administered an oath in
 7   accordance with CCP Section 2094, testified as
 8   follows:
 9

10               MR. KYLE:        This is an examination under
11   oath of Joseph Schneerson.
12               MR. ROWE:        Before you ask any questions,
13   can we make the statement we made yesterday?
14               MR. KYLE:        Yes.
15               MR. ROWE:        That we're taking this
16   deposition, reserving all rights to object, either
17   side,   in case this deposition is used in litigation.
18   It does not currently exist.
19               MR. KYLE:        Or this examination under oath.
20               MS. SHER:        I have a question.                You used the
21   word "deposition"; you said "examination."                          There is
22   a difference, is there not?
23               MR. KYLE:        There is.          This is an
24   examination under oath.
25               MS. SHER:        Okay.

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 1               MR. KYLE:         Because nothing is in
 2   litigation.       I understood what Steve was saying.
 3   The purpose is,        if there is any objection to any
 4   question, any responsiveness, when and if the
 5   examination under oath is used in any capacity,
 6   everybody reserves their rights.                      That was our
 7   intent yesterday and that's what we're going to be
 8   doing today.       Fair enough?
 9               MR. ROWE:        Agreed.
10               MR. KYLE:         Good.
11

12                                  EXAMINATION
13   BY MR. KYLE:
14         Q     Mr. Schneerson, this will be your
15   examination under oath.               You have affirmed to tell
16   the truth.      And I thank you for that.
17               It's being taken pursuant to the terms and
18   conditions of an insurance policy that was written
19   by American Safety Indemnity Company.                         Policy No.
20   201 CMP 1000482-10.            Named insured:              Fairfield
21   Shopping Center, LLC.              Mailing address:                  In care of
22   Ybm Properties, 500 North Larchmont, Los Angeles,
23   California 90004.
24               The policy period was September the 15th,
25   2010 to September the 15th, 2011.

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 1               Okay.      I had sent an e-mail to Dora
 2   requesting that she bring the agency file.                          And as
 3   we discussed out in the anteroom, you are paperless;
 4   is that correct?
 5         A     Correct.
 6         Q     You have certain documents in your
 7   computer.      And as you have indicated to me, you
 8   believe all those documents are in the possession of
 9   the insurance company?
10         A     Correct.
11         Q     Am I saying it correct?
12         A     Correct.
13         Q     As we go through this questioning,                      if we
14    find something that we may not have,                     I may ask you
15    to look in your computer and maybe make a copy of
16    something for me, but at this point, we're going to
17   proceed based that we have all the documents.                          Fair
18    enough?
19         A      Fair enough.
20         Q      Can I begin by asking you just some general
21   questions,     like stating your name.
22         A     Joseph Schneerson.
23         Q     And your address, please.
24         A      4221 Wilshire Boulevard, Suite 222, L.A.
25    California 90010.

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 1         Q     And what is your occupation, sir?
 2         A      Insurance broker.
 3         Q      Is there a difference between the term
 4   insurance broker and insurance agent?
 5         A      I believe insurance broker works for the
 6   client and insurance agent works for or represents a
 7   company.
 8         Q     So in this instance, as an insurance
 9   broker, you would be working for Fairfield Shopping
10   Center, LLC, the insured?
11         A     Correct.
12         Q     And the insurance agent, which I think
13   would be AmWINS,        they would have been working for
14   American Safety?
15         A     No.    AmWINS is a broker also.                    They're a
16   wholesale broker.
17         Q     Both you and AmWINS would be working for
18   Yair Ben-Moshe in his capacity as a managing member
19   of the LLC?
20         A     Could be.
21         Q     I guess you're confused about his role
22   but
23         A     No.    AmWINS works for me.                  I work for the
24   client.     Indirectly everybody works for the client,
25   including the insurance company.                     I don't know why

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 1   you want to know this question.
 2          Q     Are you the owner of the Shomer -- is it
 3   Shomer Insurance Incorporated?
 4          A     Correct.
 5          Q     And you're the owner?
 6          A     That's correct.
 7          Q     I'm trying to explore a little bit about
 8   your experience in the insurance agency.
 9                How long have you been in the insurance
10   industry?
11          A     26 years.
12          Q     Have you had an opportunity to be in
13   contact with insureds on both personal lines and
14   commercial lines?
15          A     Correct.
16          Q     Does your agency have a tendency to write
17   more for personal lines or for commercial lines?
18          A     Commercial lines,             the majority.
19          Q     Do you have any other thing you write or
20   help assist in the placement, other than personal
21   and commercial lines?
22          A     A little bit of medical.                    That's really
23   all.
24          Q     Do you do any D&O?
25          A     That's part of commercial.

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 1         Q      Inland marine would be commercial?
 2         A      Yes.
 3         Q      Thank you.         I had a copy of your website,
 4    you represent a number of fine companies,                           I
 5    understand.
 6         A      I haven't looked at the website in a while.
 7    I couldn't answer that.
 8         Q      Do you have a contractual relationship with
 9    my company American Safety Indemnity Company?
10         A      I don't think so.
11         Q      With certain companies that you have, you
12    have contractual relationships with certain
13    insurance companies?
14         A      I imagine so.
15         Q      And that allows you to bind certain risks?
16         A      Correct.
17         Q      But you do not have the authority to bind
18    anything with regard to American Safety Indemnity
19    Company?
20         A      That's correct.
21         Q      Now,   let me ask you, when did you first
22    have an opportunity to meet Yair Ben-Moshe?
23         A      Ten years ago.
24         Q      Was it in a professional capacity?
25         A      I don't remember.

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 1         Q      As a result of your being in contact with
 2    him, did he ask you to write some insurance on some
 3    of his properties?
 4         A      Correct.
 5         Q      What about a gentleman by the name of David
 6    Maimon, do you know Mr. Maimon?
 7         A      No.

 8         Q      Have you ever spoken to Mr. Maimon?
 9         A      I don 1 t    think so.
10         Q      With regard to the placement of insurance
11    at Fairfield Shopping Center, LLC, was all your
12    contact with Mr. Ben-Moshe?
13         A      I believe so.
14         Q      How would you describe the relationship
15    between you and Mr. Ben-Moshe?
16         A      It 1 s all right.
17         Q      A business and -- would it be business or
18    friendship or would it just be business?
19         A      Combination of both.
20         Q      Do you happen to attend the same synagogue
21    together?
22         A      No.

23         Q      I 1 m not going to ask you the different
24    properties that you have assisted Mr. Ben-Moshe
25    with, but can you give me a rough estimate as to how

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 1    many properties you have placed insurance for?
 2         A      I don't know offhand.                 And it's
 3    confidential information.
 4         Q      Let's talk about the property in question.
 5    The Fairfield Shopping Center in Fairfield, Alabama.
 6                It's called Fairfield Shopping Center, LLC.
 7    When did you first become aware of a desire on the
 8    part of Mr. Ben-Moshe to insure this property?
 9         A      Whenever we insured it, a little while
10    before we insured it.
11         Q      I'm sorry.          I didn't hear you.
12         A      Before we insured, a little while before
13    that.
14         Q      My understanding is that the property was
15    purchased on September the 15th, 2006.                          And I'm
16    under the impression that there was a policy written
17    with an insurance company by the name of Granite
18    State Insurance Company.                Is this -- does this help
19    refresh your recollection?
20         A      There is a policy written by Granite
21    Insurance Company, that's correct.
22         Q      Can you give me the full name of Granite
23    State, if I'm not misstating it?
24         A      I think it's an AIG.                 I don't have a full
25    name at the tip of my fingers.

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 1         Q      We don't have a copy of the insurance
 2    policy.     Can you assist me in obtaining a copy of
 3    the policy that was in effect for the year before
 4    the American Safety policy went into effect, which
 5    would have been -- I'm under the impression,                          9/15/09
 6    to 9/15/10.
 7         A      If I'm obligated,             I will.
 8         Q      If Mr. Ben-Moshe requests it, will you
 9    produce it for us?
10         A      Correct.
11         Q      Tell me, can you confirm that the Granite
12    State Insurance Company -- let me strike that.
13                Are you familiar with the term
14    Distinguished Programs?
15         A      Yes.
16         Q      What is Distinguished Programs?
17         A      I believe they're property -- it's a
18    program that they write insurance through then at
19    the Granite State.
20         Q      Would Distinguished Programs be in the same
21    role as AmWINS with regard to American Safety?
22         A      To a point.
23         Q      When you wrote the risk or submitted an
24    application for this property, would it be submitted
25    to Distinguished Programs, who would then place it

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 1    with Granite State, or do I have it backgrounds?
 2         A      That's correct.
 3         Q      Which one?
 4         A      You have it frontwards.
 5         Q      Frontwards.          In other words, you placed it
 6    with Distinguished?
 7         A      We sent the app to Distinguished and they
 8    gave us a quote with Granite.                   And we bound it with
 9    Granite.
10         Q      The timing, September the 15th, 2006 when
11    we have the documents in front of us that he
12    purchased the property, until American Safety took
13    it over, took on the risk September 15th, 2010,                          it's
14    a nice little compartmentalization of four policy
15    periods of a year.
16                To the best of your knowledge, was the risk
17    on this property with Granite State all four years?
18         A      Whatever the records show.                    If it's there,
19    it's there.       I don't have the four policies in front
20    of me.
21         Q      We don't either.             And so I'm going to have
22    to just
23         A      I believe so.
24         Q      -- go back on your recollection.
25                Understanding that you don't have anything

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 1    to look at, but to the best of your recollection,
 2    you initially placed it with Granite State and it
 3    renewed for three policy periods?
 4         A      It was with GP until we moved it over to
 5    AmWINS, so I believe it was Granite State.
 6         Q      Did AmWINS,        sometime before placement with
 7        let me see if I can say it in a different way.
 8                Sometime, maybe on the second or third
 9    policy period, did AmWINS become the broker instead
10    of Distinguished Programs, or are you trying to tell
11    me that AmWINS was who placed American Safety, but
12    DP was with Granite State all four years?
13         A      That's correct.
14         Q      Granite State was with --
15         A      DP.
16         Q      Okay.
17                Do you have any recollection as to the
18    amount of coverage with regard -- from a property
19    standpoint that Granite State had offered?
20         A      No.
21         Q      Do you know whether the amount of insurance
22    with Granite State had increased from the time you
23    originally placed it up until American Safety got on
24    the risk on September 15th, 2010?
25         A      I don't recall.             I don't think so.            But

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 1    it's all a matter of record.                  You don't need my
 2    recollection, you can pull the policy.
 3         Q      The problem is I don't have the policy.
 4         A      If I'm allowed,           I'll get you the policy.
 5         Q      I don't have a way to see it.
 6         A      No problem.
 7         Q      Maybe we can get it?
 8         A      I don't think it increased.
 9         Q      Do you recall in the beginning whether
10    there was a tenant that was possessing the premises
11    when Mr. Ben-Moshe's company bought it?
12         A      I believe so.
13         Q      Is it normal to add the tenant -- well, do
14    you know what Granite State intended to insure and
15    what the tenant undertook to -- tenant and his or
16    its insurance company intended to insure?
17         A      I only know that Granite State intended to
18    insure the building and the loss of income and the
19    liability.
20         Q      Yesterday we determined talking to Mr.
21    Ben-Moshe, that sometime around December of 2008,
22    Teletech, which was the name of the tenant that was
23    occupying the space, gave notice that it was going
24    to terminate its lease in February of 2009 and
25    relocate in a different area.

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 1                Were you aware of this?
 2         A      No.
 3         Q      In 2009 the structure became vacant and
 4    unoccupied.        And it remained vacant and unoccupied
 5    until sometime in August of 2009 when an entity
 6    known as Bamaco Bingo signed a lease and took over
 7    the premises.        That would have meant that it was
 8    vacant for six months.
 9                With regard to the Granite State policy, do
10    you know what provision was dealing with the vacancy
11    exclusion?
12         A      Not offhand.
13         Q      Based upon your 26 years experience in the
14    insurance business, are you aware of vacancy
15    exclusions or vacancy endorsements?
16         A      Yes.
17         Q      In general, not concentrated on this
18    policy, but in general, what do these policies
19    generally provide?
20         A      In a vacancy exclusion, usually it will
21    exclude vandalism and malicious mischief, possibly
22    water damage.
23         Q      If the property is vacant for maybe 30 days
24    or 60 days depending on the policy period?
25         A      Correct.

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 1         Q      Now,   in that regard, did Mr. Ben-Moshe or
 2    anybody with Fairfield Shopping Center, LLC notify
 3    you that the property was vacant for more than 30 or
 4    60 days?
 5         A      I don't recall.
 6         Q      If you would have been told that the
 7    property was vacant for more than 30 or 60 days,
 8    what action would you have taken as the insurance
 9    broker?
10         A      I would have either asked the company if
11    they would give a vacancy endorsement to Granite
12    State, or if not,         I would have told them it has to
13    be rewritten to where you have vacant building
14    policy.
15         Q      But to the best of your recollection, you
16    didn't know about it and you didn't have an
17    opportunity to talk about it?
18                MR. ROWE:        He said he didn't remember one
19    way or the other.
20    BY MR. KYLE:
21         Q      I don't want to put words in your mouth.
22    Tell me again --
23         A      I don't remember                 I cannot remember,
24    either 2008 or 2009, when it became vacant.                          So I
25    have no recollection to say if I did or did not have

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 1    a conversation.           When I discovered that the building
 2    was vacant,         I cannot tell you the date,                  I have no
 3    idea.       We rewrote           either DP canceled or whatever
 4    the story was, we just rewrote the policy with
 5    American Safety.
 6           Q      Now,    I'm going to fast forward and tell
 7    you,       I believe that occurred in the summer of 2010,
 8    the following year.              But I'm going back now the year
 9    before when there was the six-month vacancy.                            And so
10    that I have it clear on the record.                         You can't
11    recall
12           A      No.
13           Q       -- whether
14           A       I cannot.
15           Q            Mr. Ben-Moshe or anybody informed you
16    that it was vacant or unoccupied?
17           A      Correct.
18           Q      Were you aware that Fairfield Shopping
19    Center filed for bankruptcy on May the 26th, 2009,
20    about 15 months before the summer of 2010?
21           A      Not to my recollection.
22           Q       In your experience as an insurance broker,
23    is the fact that an insured files bankruptcy an
24    increase in the risk of hazard?
25           A      Not really.

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 1         Q      Is it something that, if the insured tells
 2    you about, you feel you should tell the insurance
 3    company?
 4         A      I don•t think so.              There•s no material
 5    change in risk whether the insured has filed
 6    bankruptcy or not, as long as there•s a tenant in
 7    the building.        There•s no change in operations.
 8         Q      In this particular instance when Fairfield
 9    Shopping Center filed bankruptcy on May 26th, 2009,
10    there hadn•t been a tenant in the building since
11    February 2009, which would have been February,
12    March, April, almost four months.
13                Would that have made a difference that it
14    was vacant and unoccupied for four months and in
15    bankruptcy?
16         A      I can•t answer hypothetical questions.
17         Q      Well, we are -- let me see if I can try it
18    a different way.
19                Based on your experience in this industry,
20    if you had been told by Mr. Ben-Moshe these
21    circumstances, would you have notified somebody?
22         A      Had I been told that the building was
23    vacant,    I would have notified the insured that he
24    has no coverage for vacant building after 30 days.
25    It really makes no material difference if the

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 1    building -- if the insured entity went bankrupt or
 2    not.       It's a vacant building,             so what's the
 3    difference if the insured went bankrupt or not?                              It
 4    doesn't add or decrease the risk.
 5           Q     Do you feel it would be important -- do
 6    you, as a normal practice, if these circumstances do
 7    exist -- this is a hypothetical,                     I understand -- do
 8    you inform the insurance of the mortgage company?
 9           A     The mortgage company usually knows before
10    me if the insured went bankrupt or not because he's
11    not making payments.              I'm the last one to find out.
12           Q      In this instance, do you recall anybody
13    from Capital GE Commercial calling you and telling
14    you about this?
15           A     No.    The mortgagee almost never calls me
16    unless they need a cert.
17           Q     And a cert is a certificate of insurance?
18           A     Correct.
19           Q      In your experience, Mr. Schneerson,                     if a
20    company goes into bankruptcy do you ever add the
21    trustee in bankruptcy as an additional insured under
22    the policy?
23           A     The receiver,          is that what you mean?
24           Q     Excuse me.         The receiver or whoever,               since
25    it goes into bankruptcy and --

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 1         A      If it's requested from the receiver, we add
 2    them on.     We tell the insurance company the receiver
 3    is taking over.         And either -- they usually
 4    non-renewal, they usually keep it to the policy
 5    expiration date.
 6         Q      I have not seen all of the records from the
 7    bankruptcy court.           I was told by Cynthia Futter
 8    yesterday that there was a trustee's file that I
 9    will endeavor to get when I get back to Atlanta.
10                But if there is a trustee who was in
11    charge, you used the term receiver,                      I don't know if
12    I'm using the right term, receiver, trustee, special
13    master,    somebody like that,             I'd ask that same
14    question.      Is it your normal practice once you're
15    informed, when you're informed, and if you're
16    informed, do you ask the insurance company to add
17    this person, this receiver, this trustee, as an
18    additional insured?
19         A      If they ask for it.
20         Q      And in this instance nobody asked for it to
21    the best of your recollection?
22         A      If it's not on the policy, that is correct.
23         Q      I want to come forward to August of 2009.
24    Do you have any knowledge or were you told that
25    Fairfield Shopping Center was able to locate a new

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 1    lessee for the building that had been unoccupied for
 2    six months and the name of that entity was Bamaco
 3    Bingo which ran a bingo hall?
 4         A      I have no recollection of dates.
 5         Q      Apart from the dates, did you ever learn
 6    that a bingo hall was using the premises?
 7                Ms. Sher,       I don't --
 8                MS. SHER:         I'm just telling him something
 9    that will help him recollect, maybe.
10                THE WITNESS:           At some point I found there
11    was a bingo tenant but a lot later date.                              I don't
12    know the date.         Let me take that back.
13    BY MR. KYLE:
14         Q      Okay.
15         A      Okay.      The tenant -- the only way I found
16    out is because the tenant -- they will put some foil
17    into the fire.         The tenant had his own policy on the
18    building and contents coverage.                     And the insured
19    couldn't decide does he want to keep his policy in
20    force, or does he want to keep the tenant's policy
21    in force.      We went back and I said it's your
22    decision.      Do what you want.
23                That's the only time I probably knew it was
24    bingo or -- I might not have known it was bingo.                                 I

25    might have known it was another tenant.                              But I knew

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 1    there was a different tenant.
 2         Q      Thank you for that.
 3                Do you happen to recall the name of the
 4    insurance company that was offering the coverage for
 5    the building and contents?
 6         A      Not offhand.
 7         Q      Is there something in your file that could
 8    help us determine the identity of that person?
 9         A      Possibly.
10         Q      So I assume -- was it Ben-Moshe who came to
11    you or -- did you discuss it with Ben-Moshe?
12         A      Yeah.
13         Q      And said you've got an option, you could
14    keep your own policy in effect, which was a Granite
15    State, or you could perhaps come under the tenant's
16    policy.     Is that the advice that you gave?
17         A      I don't remember the dates of the policy,
18    if the American Safety was in force then or if the
19    Granite State policy was in force then,                        I don't
20    remember.
21         Q      I think I can help you with that.
22         A      Dates don't mean nothing to me.                         You can
23    remember what you ate last week on Tuesday, that's
24    good.     I can't remember what happened in 2 0 0 9,                     '1 0

25    or '11.

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 1         Q      I'm just trying to pick your brain for what
 2    you do remember.          But I can say this, sir, when
 3    American Safety took on the risk,                    it was vacant and
 4    unoccupied.       And it's been vacant and unoccupied
 5    during the period that American Safety was on the
 6    risk.     So it would have been before that when Bamaco
 7    Bingo was on the risk.              It was in -- Granite State
 8    would have been on the risk.                  Does that help?
 9         A      Could be.        Whatever.          Whatever.           So it was
10    another -- he don't want to have two policies.
11    Whatever, he did know, he didn't know.                         I explained
12    to him,    there are advantages, there are
13    disadvantages.         That was it.
14         Q      Were you ever informed or did you ever see
15    any endorsement to that tenant's policy that added
16    Fairfield Shopping Center, LLC as an additional
17    insured?
18         A      No,   I don't think so.
19         Q      Is a bingo hall a change in the risk that
20    is being underwritten?
21         A      I can't answer that.                Unless there's risk
22    policy.     It's really the operations, as long as
23    they're not hazardous, they don't make a difference.
24         Q      Do you as an insurance broker with 26 years
25    of experience, see a difference in risk,                            risk of

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 1    hazard, between a tenant who is operating a
 2    telecommunications center and a tenant who is
 3    operating a bingo hall?
 4           A      Possibly.        But, again,          if        if there
 5    was         if, according to the lease, he named
 6    Fairfield as an additional insured on the policy,                               it
 7    would really not make that much of a difference.
 8           Q      But, again,        from Joseph Schneerson's
 9    standpoint, and Shomer Insurance Agency, you were
10    not given an opportunity to put any input because it
11    had already been done?
12           A      That's correct.
13           Q      Did you ever learn that at some time --
14    this is around the period of 2010,                       I'd say, May or
15    June         that the bingo hall operation was shut down
16    across the State of Alabama for the last time by the
17    State Attorney General of Alabama?
18           A       I don't recall.
19           Q       It's our understanding that around Memorial
20    Day,       I can't give you any more of a specific date,
21    2010, the Attorney General of the State of Alabama,
22    in some form or fashion,                shut down all bingo halls
23    across Alabama, which one of these was a tenant
24    through a subtenant in this building.
25                  And I'm trying to find out, did you ever

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 1    learn of that action by the Attorney General?
 2           A    No.    I never did.
 3           Q    When did you learn that the building was
 4    vacant and unoccupied following Memorial Day 2010?
 5           A    I don't recall.
 6           Q    I assume you would have heard that it was
 7    vacant and unoccupied from Mr. Ben-Moshe?
 8           A    I don't assume anything.
 9           Q    You decided to write a policy or you
10    participated in writing a policy with American
11    Safety Insurance Company.                As I think you may have
12    said earlier, it was written as a structure that was
13    vacant and unoccupied
14           A    Correct.
15           Q    -- correct?

16                How was it that you knew that it had been
17    occupied but was unoccupied?                  What were the
18    circumstances surrounding that?
19           A    The only way I could have known is through
20    Mr. Ben-Moshe.
21           Q    Do you remember what Mr. Ben-Moshe told
22    you?
23           A    No.
24           Q    Did he tell you how long it had been vacant
25    and unoccupied?

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 1         A      I don't recall.
 2         Q      Did he advise you that he had employed
 3    security guards to protect the premises while it was
 4    unoccupied and vacant?
 5         A      I don't recall.
 6         Q      Do you recall if you advised him that in
 7    order to safeguard the premises he should consider
 8    employing a security guard to monitor the premises?
 9         A      I don't recall.
10         Q      What risks in your experience as an
11    insurance broker over 26 years does an owner face
12    when a building is unoccupied and vacant for an
13    extended period of time?
14         A      Vandalism.
15         Q      Thefts of property?
16         A      Uh-huh.
17         Q      As well, perhaps water damage?
18         A      Also.
19         Q      Do you recall if you ever received a notice
20    of nonrenewal from Granite State?
21         A      I don't recall offhand, but possibly they
22    did cancel the policy, non-renewed the policy.
23         Q      Based on your recollection, why was it that
24    you changed the placement of this policy from
25    Granite State to American Safety?

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 1         A      Must be that Granite State did not write
 2    vacant buildings.
 3         Q      Is one way of expressing this intent not to
 4    insure vacant buildings to issue a notice of
 5    nonrenewal?
 6         A      Correct.
 7         Q      Normally most states require that this
 8    notice of nonrenewal be sent out by a prescribed
 9    period of time prior to the expiration of the
10    policy,    is that your experience?
11         A      Correct.
12         Q      Are these notices of nonrenewal sent to the
13    insured?
14         A      Usually.
15         Q      Are they sent to the mortgagee?
16         A      Yes.
17         Q      Are they sent to additional insureds,                        to
18    the extent that there are additional insureds under
19    the policy?
20         A      They should be.
21         Q      Are they sent to the insurance broker?
22         A      Yes.
23         Q      Tell me what efforts you made to search for
24    another insurance company who would write vacant and
25    unoccupied structures?

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 1         A      Repeat the question, please.
 2         Q      What efforts did you as an insurance broker
 3    take to search out possible companies who would
 4    write this coverage?
 5         A      Complete an ACORD ap and send to the
 6    insurance broker.
 7         Q      Mr. Schneerson,           I want to hand you a
 8    document that we identified yesterday as Exhibit 14.
 9    And that appears to be a commercial insurance
10    application.       Do you recall that,                sir?
11         A      Looking at it.
12         Q      On the very bottom of it in the right-hand
13    corner it appears to bear your signature?
14         A      Correct.
15         Q      Is that your signature?
16         A      Correct.
17         Q      What was the date of the application?
18         A      It shows here 8/13/2010.
19         Q      Now,   I have been given -- this is a copy,                        I
20    do not have the original.                 Do you know where the
21    original might be?
22         A      Scanned in my -- it should be scanned in my
23    computer.
24         Q      Do you know -- my copy does not show a
25    signature by Mr. Ben-Moshe in the lower left-hand

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 1    corner.     Do you recall if the original, is it your
 2    practice        is it your custom, habit and practice
 3    when you fill out an insurance application to have
 4    the insured sign it?
 5         A      Yeah.     We try to get it signed.                      And
 6    sometimes the companies demand it signed or else
 7    they won't bind without a signature.
 8         Q      If you're unable to, because of travel
 9    plans or something, not able to get a signature, do
10    you go over all the material and pertinent parts of
11    the application and get input from the insured to
12    fill it out?
13         A      We try.
14         Q      What is the significance of an insurance
15    application?
16         A      Describing the premises and the coverages
17    requested.
18         Q      Is it critical that all of the information
19    contained in an insurance application be true and
20    correct?
21         A      Yes.
22         Q      Do you understand that an underwriter with
23    any number of insurance companies will rely upon the
24    veracity and truthfulness of that application in
25    considering whether to underwrite the risk?

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 1         A      Correct.
 2         Q      And what type of premium to charge?
 3         A      Correct.
 4         Q      In this instance, do you recall going over
 5    this application             we don't have the application
 6    signed, original             I'm going to have to ask you if
 7    you'll look in your system to see if it has his
 8    signature.
 9         A      Okay.
10         Q      And if it is, please let me know and then
11    get a copy of it.
12         A      Okay.
13         Q      Not knowing that,            in regards to this
14    particular risk,        in the middle of the                        in the
15    bottom of the page there's a series of general
16    information questions?
17         A      Uh-huh.
18         Q      Do you see that?
19         A      Yes.
20         Q      You're pretty familiar with this
21    application --
22         A      Yes.
23         Q      This ACORD Form 125 is a pretty standard
24    form used in the insurance industry, isn't it?
25         A      Correct.

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 1         Q      These questions 1 through 11 on the bottom
 2    are routine questions that you ask each and every
 3    insured, don't you?
 4         A      Correct.
 5         Q      And they're critical and material to the
 6    risk, aren't they?
 7         A      Correct.
 8         Q      Look at the question down here, No. 10.                           It
 9    asks whether any bankruptcies have been filed by the
10    insured for the past five years.                     And can you tell
11    in the -- point out whether the question is marked
12    "yes" or "no"?
13         A      It's marked no.             Possibly it was probably
14    because the person who filled out the ACORD app did
15    not know that there was a bankruptcy.
16         Q      Mr. Ben-Moshe was the contact that you
17    would have dealt with with regard to the placement
18    of this risk, wouldn't he?
19         A      Correct.
20         Q      You think Mr. Ben-Moshe would have known
21    that his company, Fairfield Shopping Center, LLC,
22    would have been in bankruptcy for 15 months before
23    being asked that question?
24         A      Correct.
25         Q      We can go through here and show you -- in

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 1    fact,    I can show you this.              This was a -- what is
 2    called a declaration.              It is a sworn statement made
 3    by Mr. Yair Ben-Moshe on a status report of a debtor
 4    in possession at a status conference.
 5                Mr. Ben-Moshe identified this.                          And it
 6    shows on page 4 that Mr. Ben-Moshe attested to this
 7    under oath August 17th, 2010.                   Do you see that?
 8         A      Okay.
 9         Q      This is a filing that was filed in the
10    United States Bankruptcy Court for the Central
11    District of California, Los Angeles, Fairfield
12    Shopping Center, LLC, a California Limited Company.
13         A      Okay.
14         Q      The date of this application is April the
15    13th?
16         A      Correct.
17         Q      The date of this
18                MR. ROWE:        April 13th?
19                MR. KYLE:        April 13th, 2010.
20                MR. ROWE:        April or August?
21                MR. KYLE:        Thank you, Steve.                I misspoke
22    myself.     I was going too quick.                 August.
23         Q      So August 13th, when he -- and I'll
24    represent to you that the bankruptcy filing was May
25    26, 2009.      Do you have any idea why Mr. Ben-Moshe

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 1    would not have answered that question truthfully?
 2         A      It is very possible that we could not get
 3    ahold of Mr. Ben-Moshe and we filled out the
 4    application based on the old ACORD information
 5    except the changes that we knew about that the
 6    building was vacant.
 7         Q      The first ACORD, and the only other ACORD,
 8    would have been back in 2006, correct?
 9         A      I don't remember.              I don't remember the
10    year.    Could be.
11         Q      Let me ask you this:                Is it your custom,
12    habit and practice to have the applicant, the
13    insured, excuse me,          fill out a new ACORD commercial
14    insurance application at every policy renewal or is
15    it just done in the beginning?
16         A      It depends.          If the company requests it, we
17    get it done.        If they don't request it, we just turn
18    it over.
19         Q      Since this is becoming a critical issue,
20    I'll ask you to look in your file again,                            if you find
21    a commercial application, other than the initial
22    commercial application, would you help me in getting
23    that for me?
24         A      Sure.
25         Q      You said the account representative, who's

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 1    the account representative on this file?
 2           A     She doesn't work for me.                   She doesn't work
 3    for Shomer anymore.
 4           Q     Would you like to ask Ms. Sher if she can
 5    tell you?
 6           A     Donna?
 7                 MS. SHER:         I believe it was Donna.
 8    BY MR. KYLE:
 9           Q     Donna Ratliff, R-a-t-1-i-f-f?
10           A      I believe that's it.
11           Q     Do you know where Ms. Ratliff might be
12    located?
13           A     No.
14           Q     Do you have a personnel file on her?
15           A     Yes.
16           Q      I'm going to show you some additional
17    documents in a minute that bear her signature.                            And
18    it may be necessary for me to get in contact with
19    her.       So I may ask Dora to help me get a last known
20    address or something so I can locate her.
21                 What was Donna Ratliff's title at the time
22    of 2010?
23                 Dora, would you like to assist in this?
24                 MS. SHER:         I would have to check.

25    ///


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 1    BY MR. KYLE:
 2         Q      Account representative,                is that sometimes
 3    what the term is called?
 4                MS. SHER:        We don't use that,              so I'll have

 5    to check what her title was.
 6    BY MR. KYLE:
 7         Q      She had some contact with Mr. Ben-Moshe if
 8    it's handled in the normal course?
 9         A      Or with his assistant.
10         Q      Why was it that Donna didn't sign the
11    application and you signed it?
12         A      I think the broker's the one who signs the
13    application.       The agency principal.
14         Q      And you were relying upon your staff to
15    make sure that these questions were asked properly?
16         A      I would have dealt with Mr. Ben-Moshe and
17    she might have dealt with Priscilla.                        So I don't
18    really know exactly what transpired between her and
19    Priscilla.
20         Q      Let me ask you, based on your experience in
21    the business,      if an insured were to fill out an
22    application and indicate that they had filed a
23    bankruptcy over the past five years, and on further
24    inquiry were presently in bankruptcy,                       in your
25    opinion, could that affect an insurance company's

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 1    decision as to whether to underwrite the risk in the
 2    first instance?
 3         A      I can't answer that.
 4         Q      Depends on the company?
 5         A      Yes.
 6         Q      And if they did decide to underwrite the
 7    risk, the premium that would be charged,                            in your
 8    experience, is a premium charged for a higher amount
 9    if it's in bankruptcy?
10         A      I don't think so.              Again, the material --
11    the list of the building as being vacant and that of
12    it being in bankrupt or not being in bankrupt, as
13    long as the premium is paid.
14         Q      When a property is vacant for an extended
15    period of time, are there any protective safeguards,
16    warranties that are issued to insure that the
17    property has certain protection?
18         A      Each company is different.
19         Q      In this instance, do you know whether or
20    not this policy had a protective safeguard warranty?
21         A      No,    I don't know.
22         Q      Mr. Ben-Moshe gave us some documents
23    yesterday through his attorney.                    And I want to show
24    these documents to you.
25                Let's mark this -- this has been marked 25.

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 1    Steve, could I mark this series of documents another
 2    document?
 3                MR. ROWE:        Yeah.       I mean, the problem is,
 4    yesterday you pulled one document out of that set.
 5                MR. KYLE:        Which is Exhibit --
 6                MR. ROWE:        And marked it a different one.
 7                MR. KYLE:        What we'll do
 8                MR. ROWE:        I just don't want it to appear
 9    that that document wasn't originally part of that
10    set.
11                MR. KYLE:        Let's mark this, please, as
12    Mr. Schneerson Exhibit No. 1.
13                (Deposition Exhibit 1 was marked for
14    identification.)
15    BY MR. KYLE:
16           Q    Mr. Schneerson,           I'm going to hand you --
17    seven pages, sir.          And I'll ask you to take a look
18    at those, those seven pages.                  I cannot represent to
19    you that that was the order at which they came.                           The
20    pages have been jumbled up as we were talking to Mr.
21    Ben-Moshe.      But they appear to be relating to the
22    issuance of the policy with American Safety.
23           A    Okay.
24           Q    Now, the question I want to ask you is
25    going back to the application for just a second.

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 1    What did Mr. Ben-Moshe tell you about the existence
 2    of a burglar alarm with a central monitoring system?
 3                If you'll look at the form,                   there's a --
 4    under the property provision, there is a paragraph
 5    several lines, discuss that subject.
 6         A      I have no recollection what he told me at
 7    that time.
 8         Q      Can I see the application for a second,
 9    please, sir.        Can I come around next to you?
10         A      Sure.
11         Q      Would that be all right?
12         A      Uh-huh.
13         Q      Under the ACORD property section, which was
14    part of the application, about two thirds of the way
15    down there is a box that asks for burglar alarm
16    type.    Next to it, a certificate number, an
17    expiration date, extent, grade.                    The next line down
18    has "Burglar alarm installed and serviced by,
19    guardsman-- number, guardsman, watchmen."
20                And then on the first set of boxes it has a
21    box for "Central station with keys," and then
22    underneath that,         "Clock hourly."             Do you see that?
23         A      Yes.
24         Q      That whole area is silent?
25         A      Correct.

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 1         Q      It's not filled in?
 2         A      Correct.
 3         Q      Below that is "Premises Fire Protection,
 4    Sprinklers, Sandpipes, Co2 Chemical Systems."
 5                And it has been typed in "fire
 6    extinguishers/smoke alarm."                 Under the question 100
 7    percent sprinkler it has 100.                   "Fire Alarm

 8    Manufacturer," it does not list it, but under the
 9    "Central Station" it has the box checked for
10    "central station."           Do you see that?
11         A      Yes.
12         Q      Can I fairly interpret that to mean that an
13    inquiry was made, either by you or Ms. Ratliff, as
14    to the existence of a central -- I mean, a burglar
15    alarm with a central monitoring system.                             And the
16    fact that it is blank, can I imply that the answer
17    was there was none?
18         A      The central station is only under the
19    fire -- under the premises fire protection, not
20    under the burglar alarm.
21         Q      Okay.
22         A      We work on any information that's given to
23    us by the insured.           And if there's any blank,                   it's
24    because we never got the information from the
25    insured.

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 1           Q    Now, on the second page of Exhibit 1, there
 2    is a document that says -- well, to put it in
 3    context.     The first page is a "Commercial Package
 4    Binder," are you familiar with that term,                           sir?
 5           A    Yes.
 6           Q    And what does a binder typically do?
 7    What's its purpose?
 8           A    It serves as a proof of insurance till the
 9    policy is issued.
10           Q    And on the second page we have a form that
11    says "Protective Safety Promissory Warranties."                            Are
12    you familiar with these endorsements and that term,
13    sir?
14           A    Yes.
15           Q    Give us the significance, in your opinion,
16    of a protective safeguard promissory warranty.
17           A    It warrants coverage.
18           Q    The form says in part,                "It is understood
19    and agreed by the insured that it is a condition
20    precedent to the acceptance of this insurance and
21    payment of any claim under the policy, that the
22    insured warrants that at all times during the
23    currency of the policy, the premises described
24    herein is protected by the protective safeguard
25    described in the schedule and the insured shall

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 1    maintain in complete working order all equipment and
 2    services pertaining to the operation of the
 3    described protective safeguard."
 4                You're familiar with that language, aren't
 5    you?
 6           A    Yeah.
 7           Q    And in this particular one, this schedule
 8    has certain checkmarks and one of the checkmarks is,
 9    "The premises is locked and secured against
10    unauthorized entry."
11           A    Right.
12           Q    To your knowledge, at any time, of course
13    you may not know it, but to the best of your
14    knowledge, was this property ever secured against
15    unauthorized entry?
16           A    I have no way of knowing that.
17           Q    It goes on to say,             "No occupancy
18    sufficient" -- it also says two other items.                          The

19    checkmark is,       "Automatic sprinkler system including
20    central station supervisory service thereon."
21                The application that we just referred to
22    indicated that there was a fire extinguisher in
23    place that had central monitoring?
24           A    Correct.
25           Q    So if that existed,              if the water was

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 1    operational, in place, paid for,                   then that warranty
 2    would have been met, correct?
 3         A      I assume so.
 4         Q      But the second checkmark says,                     "Burglar
 5    alarm including central station supervisory service
 6    thereon."
 7                If there was no burglar alarm or no central
 8    station supervisory service, then this warranty
 9    would have been violated or breached?
10         A      Possibly.
11         Q      Do you recall receiving or reviewing any
12    e-mails from Steve Riss at AmWINS regarding the
13    existence of a burglar alarm with a central station
14    monitoring?
15         A      I can't recall.
16         Q      So that I can understand it.                      I think I
17    understand what a burglar alarm is, but with a
18    central station monitoring, can you explain what you
19    understand that term to be so we're on the same
20    page?
21         A      It would most probably mean any
22    unauthorized entry would ring an alarm in the
23    central station.
24         Q      By central station,              I assume that if the
25    security is breached by either a broken window or a

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 1    busted door, or some other unauthorized entry, that
 2    an alarm will go off inside the premises?
 3         A      No, it doesn't have to, as long as it goes
 4    off in the central office.
 5         Q      It could also go to an office which is
 6    offsite, off compass?
 7         A      Correct.
 8         Q      And that is normally done through a
 9    telephone system?
10         A      Correct.
11         Q      It's also sometimes done with a power
12    system if there's not a battery?
13         A      I don't know that.               I'm not familiar with
14    alarm systems.
15         Q      Now,   in this policy, if American Safety
16    said we will insure this if these protective
17    safeguards are in place, is that significant to the
18    risk?
19         A      I imagine.
20         Q      Is that material to the underwriting of
21    this risk?
22         A      I imagine.
23         Q      Now, do you recall Mr. Riss contacting your
24    agency and -- I'll ask a series of questions.                          Did
25    you ever tell Mr. Riss that per the agent, we can

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 1    confirm there is a burglar alarm with central
 2    monitoring system.           Did you ever say that to Mr.
 3    Riss?
 4         A      No, not to my knowledge.
 5         Q      Do you know if Donna Ratliff said that to
 6    Mr. Riss?
 7         A      I wouldn't think she would.
 8         Q      Do you know of anybody -- in your
 9    knowledge, have you seen anything that indicated
10    there was somebody within your organization who
11    would have said that to Steve Riss?
12         A      No.
13         Q      Are you familiar with a company called
14    WKF&C?
15         A      Yes.
16         Q      What is WKF&C?
17         A      They're a wholesale broker.
18                MR. ROWE:        What did you say?                I'm sorry.
19                MR. KYLE:        They're a wholesale broker.
20                THE WITNESS:          They're more than a wholesale
21    broker.     The wholesale broker goes to them.                          So I
22    don't know exactly what they're called.                             AmWINS goes
23    to WKF&C.      I cannot go to WKF&C.
24    BY MR. KYLE:
25         Q      Let me show you a document that we saw

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 1    yesterday.       It's not dated, but it's Exhibit 21.                          On

 2    the very top of that it says WKF&C vacant property
 3    supplement.
 4                  It identifies Fairfield Shopping Center,

 5    LLC.       And on the very bottom it has the signature of
 6    a Donna Ratliff.           Do you see that?
 7           A      Correct.

 8           Q      It doesn't have a date on it.                     We have no

 9    idea when it was issued, who filled it out.                           Who

10    signed it.       Have you ever seen a form similar to
11    this?
12           A      I imagine I did.            Not lately.

13           Q      Can you assist us in knowing the date that
14    Ms. Ratliff may have signed this document?
15           A      No idea.

16           Q      Do you have any idea how she -- do you know
17    if any of this information contained in this form is
18    true and correct?
19           A      Any information she would have gotten most
20    probably would have been from Priscilla.
21           Q      And who is Priscilla?
22           A      Works for Yair Ben-Moshe.
23           Q      Is Priscilla one of the associates or one
24    of his business associates?
25           A      She's an employee.

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 1         Q      But it doesn't indicate where she got that
 2    information on this form?
 3         A      Correct.
 4         Q      And if the indication was that there was a
 5    burglar alarm with a central monitoring system and,
 6    in fact,    there was not a burglar alarm and there was
 7    no central monitoring system, the information given
 8    to Donna would have been incorrect?
 9         A      Possibly.
10         Q      Donna doesn't go out and check this
11    herself, does she?
12         A      No.
13         Q      She doesn't go to -- she didn't go to
14    Fairfield, Alabama?
15         A      No.
16         Q      She doesn't check it out, she relies on
17    what is told to her by the insured or the insured's
18    representative?
19         A      Or what's in the file.
20         Q      What would be in the file would be
21    something that would be information supplied to you,
22    to your agency, by the insured or the insured's
23    representative?
24         A      Correct.
25         Q      I want to show you a form.                    Mark this No.

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 1    2.
 2                  (Deposition Exhibit 2 was marked for
 3    identification.)
 4    BY MR. KYLE:

 5           Q     This is an ACORD property loss form.                       Are

 6    you familiar with that,              sir?

 7           A     Yes.

 8           Q     What is a property loss form?
 9           A     Reporting claim to an insurance company.
10           Q     On the very bottom of it,                  it appears that

11    this particular form was reported by a Darrell
12    Varnardo.       Do you know Mr. Darrell Varnardo?

13           A     No.
14           Q      It shows that it was -- it bears your

15    agency's name, Shomer Insurance Agency?
16           A      Correct.

17           Q      Do you have any knowledge or understanding
18    as to how that phone call was made and the
19    preparation of that form?
20           A      Mr. Varnardo must have called the office.

21           Q      Excuse me?

22           A      Mr. Varnardo must have called the office

23    and spoken to somebody in the office.                          I don't know

24    who.       And this was filled out and sent to the
25    insurance company.

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 1           Q      Will you give me some dates on that.                       Will
 2    you,       first of all, show me the date that the form
 3    was prepared.
 4           A      6/8/2011.
 5           Q       Is it your normal practice in your agency
 6    to fill out these forms near the time that the call
 7    is reported?
 8           A      Correct.
 9           Q       In other words,          it's important to you that
10    the insurance company be given prompt notice of when
11    you learn about it?
12           A      That's correct.
13           Q      More likely than not, if the phone call
14    came in,       it was prepared that same day and sent to
15    the insurance company that same day?
16           A      Within 24 hours.
17           Q      Okay.      That's fine.
18                   It shows a date of an incident, and what
19    does the incident show?
20           A       2/7/2011.
21           Q      Now, are you familiar with the policy loss
22    conditions that describe duties in the event of a
23    loss or damage?
24           A      Yeah.
25           Q      You're pretty familiar with that?

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 1           A    In and out, yeah.
 2           Q    I'm going to hand you Exhibit 24, which is
 3    pages 9 and 10 of this particular insurance contract
 4    with American Safety.             And we have gone over
 5    previously the duties in the event of a loss or
 6    damage.     Why is prompt notice -- let me put it this
 7    way.
 8                Do you believe there's an obligation on the
 9    part of the insured to follow certain acts in the
10    event of a loss or damage to covered property?
11           A    Yes.
12           Q    Is one of those things that they are
13    required to do to notify the police if a law may
14    have been broken?
15                And you can look at this form to see.                        I'm
16    reading from that contract.
17           A    Possibly.
18           Q    Do you see 3Al, it's on page 9 of 14,
19    "Duties in the event of a loss."                     3Al, do you see
20    that?
21                "Notify the police if a law may have been
22    broken."
23           A    Yes.
24           Q    And No. 2 says,           "Give us," which is the
25    insurance company,          "prompt notice of the loss or

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 1    damage, including a description of the property
 2    involved. "
 3          A     Okay.
 4          Q     If they knew about it in February and
 5    didn't tell you until June, do you think that's
 6    prompt notice?
 7          A     No.
 8          Q     I'm going to ask you another hypothetical.
 9                If Mr. Yair Ben-Moshe himself learned in
10    November of 2010, which would have been about eight
11    months before June of 2011, that a burglary had
12    occurred at his premises, and waited eight months,
13    do you think that is prompt noticed?
14          A     I don't know when he found out about it.
15          Q     I know.       It's just a hypothetical.
16    Assuming he did find out about it, Do you think
17    eight months is
18          A     Somebody waited six months to put a loss
19    in,   it is not prompt.
20          Q     The insurance contract, 3A4 also states
21    that "The insured is to take all reasonable steps to
22    protect the covered property from further damage
23    once they become aware of the damage."
24                In your opinion, would it be reasonable if
25    an insured knew about a loss in November of -- or

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 1    damage in November of 2009 to take steps to prevent
 2    further thefts to his property?
 3         A      I don't know when this insured found out
 4    about the theft.
 5         Q      This is a hypothetical, sir.
 6         A      Hypothetical.           It should be taken care of
 7    as soon as possible.
 8         Q      And that would include taking steps to
 9    protect the property from further thefts?
10         A      Correct.
11         Q      Now, we also learned that subsequent to
12    that, an amended proof of loss was submitted by
13    somebody at your agency with the correction.                          Do you
14    remember that taking place?                 This may be Dora's --
15    let me have that marked as an Exhibit.
16                (Deposition Exhibit 3 was marked for
17    identification.)
18    BY MR. KYLE:
19         Q      This will be Exhibit 3, sir.                     This is an
20    e-mail from Dora Sher to Steve Riss and Aaron
21    Zolonz, Z-o-1-o-n-z, with a copy to Yossi.                          I assume
22    that would be you,          that's your short nickname,
23    Debbie Delia, and David Lightbourn regarding claim
24    No. ASI0278P.
25                This is an e-mail that Dora authored.                        And

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 1    the intent of it was to correct the previous
 2    property loss notice.             And she attached a copy of a
 3    police report showing an incident that occurred on
 4    November 22nd, 2010 in Fairfield, Alabama.
 5                Do you recall receiving and reading this
 6    e-mail and the contents?
 7         A      No.    I must have received it.                    I don't
 8    recall when I read it or if I read it.
 9         Q      Then I'll ask Dora about that when I take
10    her examination because she'll know about that.
11                How many thefts have you been told about
12    that have occurred at this subject premises?
13         A      I did not write -- I did not -- I was not
14    the manager on the account, so I personally was told
15    very little of anything.                I heard there was the
16    bankruptcy.       I heard later there was vandalism,
17    theft, whatever it was.               I really was not hands-on
18    on the account.
19         Q      Would the proper person for me to speak
20    with, since you don't have this knowledge,                          I
21    understand that, would that be either Dora or this
22    Donna Ratliff?
23         A      Correct.
24         Q      Which one would be the manager of the
25    account?

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 1         A      You'll have to ask Dora that question.
 2         Q      I assume that when Donna was there,                      she

 3    would have been the manager, and when she left, Dora
 4    would have taken over, is that the way your agency
 5    generally operates?
 6         A      Dora or Debbie,           the other name on the

 7    e-mail.
 8         Q      I will ask Dora about that in just a
 9    minute.
10                Do you know a gentleman by the name of
11    Moti?
12         A      I don't recall.
13         Q      I will represent to you that Moti was a
14    gentleman who lives in -- in or about Birmingham,
15    Alabama.
16         A      I don't know him.
17         Q      That Yair Ben-Moshe contacted Moti -- or
18    Moti, I don't know how to pronounce his name -- to
19    do some cleaning work, maybe other work, he was a
20    friend.     I'm bringing this --
21         A      Don't know.
22         Q      -- to your attention to see, did Mr.
23    Ben-Moshe ever tell you about Moti or Moti's
24    involvement in this?
25         A      Not to my knowledge.

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 1         Q      He got the name of Moti through a Rabbi in
 2    Birmingham
 3         A      I have no idea.
 4         Q      Did you ever speak with the Rabbi or the
 5    Rabbi's son?       No knowledge or anything about that?
 6         A      Nothing.
 7                To my recollection.               I don't want it to
 8    come back to haunt me.
 9         Q      I wanted to ask you about the policy that
10    was eventually canceled by American Safety.                            Do you
11    remember the attempts that were made to do
12    inspection on this property?
13         A      I just recollect there were numerous
14    attempts made.        And we called the insured numerous
15    times, but for some reason it doesn't jibe for some
16    reason.     We kept telling the insured, the company's
17    going to cancel, you got to get it done.                            Then the
18    company canceled, we told them we can't get it done.
19    We gave up.      We said we can't do anything about it.
20    We made numerous attempts.
21         Q      What is the significance or the importance
22    of an inspection on the property, particularly one
23    that's vacant or unoccupied?
24         A      The insurance company wants to see what
25    it's writing.

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 1         Q      Do you know if Granite State had ever done
 2    an inspection of the premises during the time it was
 3    vacant when they were on the risk, which would have
 4    been six or seven months in 2009, but more
 5    particularly, more significantly,                    from around
 6    Memorial Day until September 15 when they got off
 7    the risk?
 8         A      I don't know.           I don't recall.
 9         Q      Do you recollect whether your file contains
10    any copies of any reports that they would have
11    submitted on the condition of the property?
12         A      Unless there is action they want us to
13    take, we don't get a copy of the report.                            Then we
14    only get what they want us to improve or fix.
15         Q      Do you have a recollection whether your
16    file has any photographs in it of the condition of
17    the premises before September the 15th, 2010 or
18    after September 15, 2010?
19         A      I don't believe I've ever had any pictures.
20         Q      This policy that was written by American
21    Safety was canceled; is that correct?
22         A      Correct.
23         Q      It was canceled because of the failure of
24    the insured to cooperate and allow an inspection to
25    take place?

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 1         A      Correct.
 2         Q      Have you taken any steps as the insured's
 3    insurance broker to place it with some other
 4    company?
 5         A      No.
 6         Q      Do you know what happened after -- did you
 7    have a conversation with Mr. Ben-Moshe or anybody at
 8    the insured about what they were going to do now
 9    that American Security had canceled in February, I
10    think it was February 2nd, 2011?
11         A      No.
12         Q      Did you hear from the mortgage company as
13    to whether they had forced placed this policy to
14    protect the property?
15         A      I don't think so.
16         Q      Thank you, Mr. Schneerson.                    That's all the
17    questions I have at this time.                   Mr. Rowe may have
18    some.
19

20                                   EXAMINATION
21    BY MR. ROWE:
22         Q      What is surplus lines coverage?
23         A      It's written out of the standard market.
24         Q      I'm sorry?
25         A      It's written out of the standard market.

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 1    It's usually written out of extra surplus.
 2         Q      And the policy from ASI is a surplus lines
 3    policy, correct?
 4         A      I don't recall offhand.                  I imagine so.
 5         Q      When you have a vacant building like the
 6    one we had here,        is it more difficult to get
 7    coverage with a vacant building?
 8         A      Correct.
 9         Q      And do domestic carriers typically not
10    write that kind of coverage?
11         A      American Safety is a domestic carrier.
12         Q      American Safety is a surplus lines carrier?
13         A      Correct.
14         Q      Do you know whether or not they're a
15    domestic carrier?
16         A      Domestic carrier domiciled in the U.S. of
17    A.   I imagine they are.
18         Q      Do you know whether ASI is a domestic
19    carrier?
20         A      No.

21         Q      We know that this was a surplus lines
22    policy, though?
23         A      Placement, correct.
24         Q      That's what it says on the policy, surplus
25    line.

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 1         A      Okay.
 2         Q      And you had to go to surplus lines because
 3    it was a vacant building, correct?
 4         A      Usually.
 5         Q      Now, you were asked by Mr. Kyle about the
 6    cancellation of the policy due to the fact that
 7    American Safety wanted to take a look at the
 8    building, they wanted to inspect it, correct?
 9         A      Correct.
10         Q      Now, they had the right to inspect the
11    becoming before they placed the coverage, didn't
12    they?
13         A      They have a right to inspect whenever they
14    want,    I imagine.
15         Q      Sure.     You had no ability to force them to
16    take this -- take on this risk back in September of
17    2010, did you?
18         A      Correct.
19         Q      It was their decision to take on the risk?
20         A      Correct.
21         Q      And did they have the right to go out to
22    Fairfield, Alabama and inspect the building if they
23    so chose to do so?
24         A      Yes.
25         Q      And you don't know whether they did or not?

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 1         A      I have no idea.
 2           Q    Now, you were asked about an application
 3    that was handed to you by Mr. Kyle.                       It was marked
 4    Exhibit 14, right?
 5         A      Okay.
 6           Q    Now, you didn't bring with you today the
 7    actual application as a part of your record?
 8         A      No.     I imagine it would be the same.
 9           Q    But you're not sure, because you didn't
10    bring it, right?
11         A      Correct.
12           Q    Now,    I want to show you --
13                I'll mark this Exhibit 4.
14                (Deposition Exhibit 4 was marked for
15    identification.)
16    BY MR. ROWE:
17           Q    I want to show you Exhibit 4,                     some
18    documents that we received from Mrs. Futter, the
19    attorney for Mr. Ben-Moshe and the Fairfield
20    Shopping Center, LLC.             Many of the documents you've
21    already seen.        But the reason I hand them to you was
22    because when I got them from Ms. Futter,                            I marked
23    them       I had my paralegal mark them in order.                          So
24    this is the documents I got.                  The document -- after
25    Steve looks at it,          I'll ask you a couple questions

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 1    about it.
 2                MR. KYLE:        I'm sorry,         I just want to take
 3    one quick look at it.
 4                MR. ROWE:        That's fine.            Take your time.
 5                MR. KYLE:        Thank you.
 6    BY MR. ROWE:
 7         Q      Now, these documents -- I'll walk around
 8    there, since I only have one copy.                      The top page of
 9    Exhibit 4 would appear to be an invoice from your
10    firm to Fairfield Shopping Center, LLC?
11         A      Correct.
12         Q      For the policy that we're talking about
13    here today?
14         A      Correct.
15         Q      And then the second page of Exhibit 4 is an
16    ACORD form.      What is that?
17         A      Evidence of property insurance.
18         Q      And what is that dated?
19         A      9/22/2010.         Effective date of 9/15/2010.
20         Q      What's the purpose of the evidence of
21    property insurance form?
22         A      For the mortgagee, usually.
23         Q      And who is shown as the mortgagee?
24         A      GE Commercial Finance Business.
25         Q      Does that indicate that GE Commercial

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 1    Finance Business has been the mortgagee on the
 2    policy since the date of inception?
 3         A      Of this policy?
 4         Q      Yes.
 5         A      Correct.
 6         Q      Now   1    the third page      1   what is that?
 7         A      Certificates of liability insurance.
 8         Q      So we have -- we have liability insurance
 9    on the building         1   but we also have property insurance
10    on the building/ so that's got two different --
11         A      Correct.
12         Q      -- ACORD forms?
13         A      Uh-huh.
14         Q      Now   1    the fourth form is a disclaimer.
15    Fifth page of Exhibit 4 is a form that Mr. Kyle
16    showed you earlier           1   the WKF&C vacant property
17    supplement.           Under that it says WKF&C vacant
18    property supplement in addition to ACORD property
19    application?
20         A      Correct.
21         Q      Do you see that?
22         A      Correct.
23         Q      Have you ever seen a form like that?
24         A      I imagine I have.
25         Q      NOW 1      this form indicates that it is for the

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 1    Fairfield Shopping Center 1 LLC 1 correct?
 2           A         Correct.
 3           Q          Indicates that the date of last occupancy
 4    was June lst 1 2010 1                      right?
 5           A         Okay.
 6           Q         That's what it says on the form?
 7           A         Okay.
 8           Q          It says it has a burglar/                     fire and central
 9    station alarm?
10           A         Okay.
11           Q          It's got places/                     someone checked it/   it
12    says   1
                 11
                      locked   1
                                   11   11
                                             alarm 11   ;   do you see that?
13           A         Uh-huh.
14           Q          It's got operational gas 1 water 1 electric/
15    according to whoever filled out the form.
16           A          Correct.
17           Q          There's a valuation on the building of 7.7
18    million.           Do you see that?
19           A          Correct.
20           Q          Square footage of the building is indicated
21    and the date of purchase?
22           A          Correct.
23           Q          There are boxes for whether the real estate
24    taxes were paid 1 whether mortgage obligations are
25    paid 1 whether there are liens 1 and someone's filled

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 1    that in?
 2         A      Correct.
 3         Q      And then it's got a signature by Donna
 4    Ratliff?
 5         A      Okay.
 6         Q      And we've established that she was a former
 7    employee of your company?
 8         A      Correct.
 9         Q      And she was an employee of your company
10    back in the fall of 2010?
11         A      I imagine so.
12         Q      Now,    this document says it's in addition to
13    the ACORD property application.
14         A      Correct.
15         Q      The ACORD property application has been
16    marked by Mr. Kyle as Exhibit 14.                       Do you know,

17    sitting here today, whether the WKF&C vacant
18    property supplement in addition to the ACORD
19    property application was submitted along with the
20    ACORD property application that's Exhibit 14?
21         A      I   can't answer that.
22         Q      You can't answer it one way or the other?
23         A      Could be sent later.                 Could have requested
24    it later.       Could have sent it later.
25         Q      Does WKF&C --

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 1         A      Let me just say one thing.                     WKF&C is just a
 2    form we use.       It's a generic form.                  It's no coverage
 3    here at any time, any place, has anything to do with
 4    WKF&C.    The wholesale broker must have sent me to
 5    the generic vacancy and this is what he had, made
 6    sense, sent it.         It had nothing to do with WKF&C.
 7         Q      So is it possible that this is a form that
 8    was requested by AmWINS and that you had filled out
 9    at their request?
10         A      Possible.
11         Q      Is it possible that this form was submitted
12    along with the application or after the application?
13         A      Correct.
14         Q      And Mr. Kyle asked you, and I don't mean to
15    belabor the point, but I think we're both interested
16    to know if you've got copies of the application
17    forms that are signed by the insured?
18         A      To my knowledge, if you see, none of the
19    forms so far have been signed by the insured.
20    Either we couldn't get ahold of him --
21         Q      Couldn't what?
22         A      We couldn't get ahold of him, or he never
23    got it back to us.            I can't answer that question.
24                We can't get ahold of him or we had a
25    conversation over the phone, whatever it is.                           We use

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 1    the information he either gave us or we have in the
 2    file.
 3         Q      Again,     if the insurance company, here ASI,
 4    if they desire to have a signed application before
 5    they place the coverage,              is that something they can
 6    demand?
 7         A      Correct.
 8         Q      In fact,      they can refuse to offer coverage
 9    until you give them the signed form,                       can't they?
10         A      Correct.
11         Q      That's their right.
12                Again,     if they chose to issue the policy
13    without having a signed application,                       then that's

14    their risk,     isn't it?
15         A      I imagine so.
16         Q      Now, Mr. Kyle asked you about Exhibit 14
17    and the fact that the burglar alarm information is
18    not filled in.         There's nothing here about the type
19    of alarm, whether it's got a central station or not.
20    Do you see that?
21         A      Correct.
22         Q      And as we sit here today, you have no idea
23    whether the building in Fairfield, Alabama had a
24    burglar alarm or didn't have a burglar alarm back in
25    2010?

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 1         A      That is correct.             We can only go off the
 2    information that we receive from the insured at the
 3    time of writing the policy.
 4         Q      But we do know that whoever filled in the
 5    vacant property supplement, that's in addition to
 6    the ACORD property application on that one, they put
 7    that it had a burglar alarm and it was a central
 8    station, didn't they?             They filled that in?
 9         A      Correct.
10         Q      Now, again, would it be the insured, ASI's
11    right, if it wanted to know for sure before it wrote
12    this coverage whether there was a burglar alarm or
13    not, would it be their right to demand that the
14    insured fill in that part of the policy or tell them
15    that there was no coverage or there was no burglar
16    alarm?
17         A      Anybody can demand anything.                      It's within
18    their right.
19         Q      This is a contractual relationship, no
20    one's forcing ASI to write this coverage, are they?
21         A      I imagine so.
22         Q      You don't know of anybody that's forcing --
23    this isn't a forced-placed coverage?
24         A      No.
25         Q      If ASI and its underwriting wants further

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 1    information, is it their right to ask for that
 2    information before it binds the policy?                         Has that
 3    been your experience?
 4         A      Correct.       Unless they thought they would
 5    inspect the building and get the information first
 6    after looking at the building.
 7         Q      And they had the right to inspect the
 8    building before they bound the coverage, correct?
 9         A      I imagine so.
10         Q      Do you have any recollection whether ASI
11    asked for additional information concerning this
12    policy application before they placed the coverage?
13         A      No.
14         Q      How would that work if there was a request
15    for additional information, would that come
16    through
17         A      Only through AmWINS.                We have no
18    correspondence with American Safety, ASI.
19         Q      So any inquiries from ASI would come
20    through
21         A      Wholesale.
22         Q      -- Steve Riss or someone at AmWINS?
23         A      Correct.
24                MR. ROWE:        Thank you,         sir.      That's all the
25    questions I have.

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 1                MR. KYLE:         Just one more minute.                    I think
 2    we'll be finished.
 3                That's all the questions I have,
 4    Mr. Schneerson.         Thank you very much.
 5                THE WITNESS:           Thank you very much.
 6                 (Off the record.)
 7                MR. KYLE:        Mr. Schneerson, you have the
 8    right -- I want to afford you the right to read over
 9    this transcript after it's been prepared to see if
10    it's correct or incorrect.                 Make any changes you
11    think are appropriate, or you can waive that
12    signature.      I mean waive that right.                     It's up to
13    you.
14                THE WITNESS:           I'd like to see a copy of it.
15                MR. KYLE:         Send me the original, please,
16    with all the exhibits.               Send you a copy.
17                Would you please read it over.                           There will
18    be instructions.          It's called an errata sheet.                      If
19    there's anything you read, that you look on and you
20    feel that she has not taken it down properly, she is
21    a competent reporter but sometimes she makes
22    mistakes, we're all human.
23                If you see a mistake, correct it, send it
24    back to her.       She'll give you a self-addressed
25    stamped envelope on that.                 Just send the whole

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 1    situation back to her and she'll send it back to me.
 2    And I'll see that Mr. Rowe gets a copy of any
 3    changes,    if anything.          Oftentimes there's no changes
 4    that need to be made.
 5

 6                It has to be done within 30 days.                       Is that
 7    sufficient time?          We can give you more time.
 8                THE WITNESS:          When I get it.             30 days from

 9    when I get it.
10                MR. KYLE:        That will be fine.                Thank you,
11    sir.
12                (TIME NOTED:          10:50 A.M.)
13

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 1                 I    declare under penalty of perjury
 2    under the laws of the State of California
 3    that the foregoing is true and correct.
 4                 Executed on                                                 2012,

 5    at                                                          California.

 6

 7

 8

 9                                 SIGNATURE OF THE WITNESS
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 1    STATE OF CALIFORNIA                 ss:
 2    COUNTY OF LOS ANGELES
 3

 4                 I, CATHRYN L. BAKER, C.S.R. No. 7695, do
 5    hereby certify:
 6                 That the foregoing examination under oath
 7    of JOSEPH SCHNEERSON was taken before me at the time
 8    and place therein set forth,                at which time the
 9    witness was placed under oath by me;
10                 That the testimony of the witness and all
11    objections made at the time of the examination were
12    recorded stenographically by me, were thereafter
13    transcribed under my direction and supervision and
14    that the foregoing is a true record of same.
15                  I further certify that I am neither
16    counsel for nor related to any party in said action,
17    nor in any way interested in the outcome thereof.
18                  IN WITNESS WHEREOF,             I have subscribed my
19    name this 3rd day of May,               2012.
20
21
22
23
24                       Cathryn L. Baker, C.S.R. No. 7695
25

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[ & - american]

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[american - burglar]

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[burglar- coverage]

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                                                                    Yair Ben-Moshe
                                                            Cathryn L. Bnker, CSR 7695




                                                                                                                                       Exhibit
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                                                                                                                                        4/18/12
                                                                                                                                   Joseph Schneerson
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                                                                                                                                                                                      DATE (MM/DD/YYYY)
  ACORDTM PROPERTY LOSS NOTICE
PRODUCER I FAJg~J,, Ext): ( 323) 934-8160 107 MISCELLANEOUS INFO (Site & location code)                                                    I     DATE OF LOSS AND TIME
                                                                                                                                                                                 I 06/0812011    PREVIOUSLY
                                                                                                                                                                                                  REPORTED
                                                                                                                                                                                 HAM
Shomer Insurance Agency                                                                                                                        02117120111               :         PM            !YES!   X I NO
                                                                                       POLICY
7461 Beverly Blvd., Ste. 306                                                            TYPE                    COMPANY AND POLICY NUMBER                            NAICCODE                POLICY DATES

                                                                                        PROP/    CO:      AMERICAN SAFETY IND                                                             EFF:   09/15/2010
                                                                                        HOME
Los Angeles                                   CA 90036-                                          POL:     201CMP1000482-l0                                                                EXP:   09/15/2011

                                                                                        FLOOD
                                                                                                 CO:                                                                                      EFF:     I     I
CODE:                                      l·suB CODE:                                           POL:                                                                                     EXP:     I     I
AGENCY CUSTOMER ID
                                                                                        WIND
                                                                                                 CO:                                                                                      EFF:     I     I
                                                                                                 POL:                                                                                     EXP:     I     I
INSURED                                                                                                                   CONTACT                    I I CONTACT INSURED
NAME AND ADDRESS OF INSURED                                                             DATE OF BIRTH                     NAME AND ADDRESS OF INSURED

Fairfield Shopping Center, LLC                                                              j       I                     DARRELL VARNADO-GLASS PATNER AS RECEIVER
c/o YBM PROP'S;SOO N LARCHMONT                                                          SOC SEC# OR FEIN:                 FOR GE CAPITAL
Los Angeles         CA 90004-                                                                   - -
RESIDENCE PHONE (A/C, No)                                I   BUSINESS PHONE (AIC, No, Ext)                                                                                            -
 (          )            -
NAME AND ADDRESS OF SPOUSE (IF APPLICABLE)
                                                             (323) 954-8888 104
                                                                                        DATE OF BIRTH                     RESIDENCE PHONE (A/C, No)                    BUSINESS PHONE (AIC, No, Ext)

                                                                                            I       I
                                                                                        SOC SEC #OR FEIN:
                                                                                                                           (       )
                                                                                                                          WHERE TO CONTACT
                                                                                                                                            -                          (251) 767-9976
                                                                                                                                                                       WHEN TO CONTACT

                                                                 -                              - -                       BIZ jf
LOSS
LOCATION
OF LOSS
                     6501 E J OLIVER BLVD.                                                                                         J   POLICE OR FIRE DEPT TO WHICH REPORTED



 KINO
OF LOSS
            -H
             THEFT
                       FIRE
                           HAIL
                                   H
                     FAIRFIELD AL 35064
                                      LIGHTNING
                                              WIND
                                                    H         FLOOD
                                                                            w   OTHER
                                                                                (explain)
                                                                                VANDALISM
                                                                                                                                       FAIRFIELD PD
                                                                                                                                                            _I PROBABLE AMOUNT ENTI~E LOSS


DESCRIPTION OF LOSS & DAMAGE (Use separate sheet, II necessary)

Property was severely vandalized and suffered water damage; vandals took copper pipes, wiring,
AC anything of value. Mr Varnado has police report and necessary paperwork re claim
POLICY INFORMATION
MORTGAGEE GE COMMERCIAL FINANCE 1500 CITY WEST BL HOUSTON TX 77024 LOAN #6322688

h      NO MORTGAGEE
HOMEOWNER POLICIES SECTION 1 ONLY (Complete for coverages A, B, C, D & additional coverages. For Homeowners Section II Llablllty Losses, use ACORD 3.)

          A. DWELLING              B. OTHER STRUCTURES           C. PERSONAL PROPERTY                   D. LOSS OF USE           DEDUCTIBLE$              DESCRIBE ADDITIONAL COVERAGES PROVIDED



                                                                                                                                                                                 ON




FIRE, ALLIED LINES & MUL TI·PERIL POLICIES (Complete only those Items Involved In loss)

     ITEM           SUBJECT OF INSURANCe             AMOUNT                                                                        COVERAGE AND/OR DESCRIPTION OF PROPERTY INSURED

                               u
                                                                                %COINS          DEDUCTIBLE

                __K.   Bl.DG        CNTS
      1                                      7 753 000                           100        25 000                 VACANT BUILDING (VACANCY PERMIT ATTACHED)
                _      st.oG   UcNrs
                                                                                                                                                                                          Exhibit
                _;_ BLDG       u    CNTS                                                                                                                                                    2
                                                                                                                                                                                      4/18/12
SUBJECT TO FORMS
(Insert form numbers
                                                                                                                                                                                 Joseph Schneerson
~~~c~~m~~~~l,tfes)                                                                                                                                                               Cathryn L. Baker, CSR 7695
FLOOD           BUil.DING:                               I DEDUCTIBLE:                                   ZONE   _J   PRE FIRM      I   DIFFIN ELEV   I   FORM         GENERAL.     HCONDO
POLICY

 WIND
POLICY
                CONTENTS:

                BUILDING                     DEDUCTIBLE
                                                         I DEDUCTIBLE:
                                                                      I
                                                                      _j
                                                                           CONTENTS                      ZONE
                                                                                                                   I POST FIRM
                                                                                                                 FORM HGENERAL
                                                                                                                 TYPE           DWELLING
                                                                                                                                               H         TYPE

                                                                                                                                                     CONDO
                                                                                                                                                                H     DWELLING




REMARKS/OTHER INSURANCE (List companies, policy numbers, coverages & policy amounts)/NY ONLY: PREVIOUS ADDRESS OF INSURED & WIFE'S MAIDEN NAME
CP0010(04/02);CPD0001(06/07);CP0450(07/88);CF150(11/850:CP0090(07I88);CP1030(04/02)

 CAT#           FICO#
                                         ADJUSTER                                                                                                               I   ADJUSTER#

                                     I   ASSIGNED

REPORTED BY                                     REPORTED TO                                     I SIGNATURE OF INSURED                               I   SIGNATURE OF PRODUCER

DARRELL VARNADO
ACORD 1 (2002/01)
                                               ISHOMER            INS
                                                                    NOTE: IMPORTANT STATE INFORMATION ON PAGE 2                                                        ©ACORD CORPORATION 1988
15tTM' INS001          (0111).02                                                   ELECTRONIC LASER FORMS, INC.· (800)327·0545                                                                           Page 1 ol2
tJ'.        r..
                             Case 2:12-cv-02415-SGC Document 67-39 Filed 08/24/15 Page 95 of 111

                                                                 Applicable in Arizona
                    For your protection, Arizona law requires the following statement to appear on this form. Any person who knowingly
                    presents a false or fraudulent claim for payment of a loss is subject to criminal and civil penalties.

                    Applicable in Arkansas, District of Columbia, Kentucky, Louisiana, Maine 1 Michigan, New
                             Jersey, New Mexico, New York, Pennsylvania, Tennessee and Vtrginia
                    Any person who knowingly and with intent to defraud any insurance company or another person, files a statement of
                    claim containing any materially false information, or conceals for the purpose of misleading, information concerning
                    any fact, material thereto, commits a fraudulent insurance act, which is a crime, subject to criminal prosecution and
                    [NY: substantial] civil penalties. In DC, LA, ME, TN and VA, insurance benefits may also be denied.

                                                                Applicable in California
                    Any person who knowingly files a statement of claim containing any false or misleading Information is subject to
                    criminal and civil penalties.
                                                                Applicable in Colorado
                    It is unlawful to knowingly provide false, Incomplete, or misleading facts or information to an insurance company for
                    the purpose of defrauding or attempting to defraud the company. Penalties may include imprisonment, fines, denial
                    of insurance, and civil damages. Any Insurance company or agent of an Insurance company who knowingly provides
                    false, Incomplete, or misleading facts or Information to a policy holder or claimant for the purpose of defrauding or
                    attempting to defraud the policy holder or claimant with regard to a settlement or award payable from Insurance
                    proceeds shall be reported to the Colorado Division of Insurance within the Department of Regulatory Agencies.

                                                           Applicable in Florida and Idaho
                    Any person who Knowingly and with the Intent to injure, Defraud, or Deceive any_ Insurance Company Files a
                    Statement of Claim Containing any False, Incomplete or Misleading Information is Guilty of a Felony.*
                            * In Florida- Third Degree Felony

                                                                  Applicable in Hawaii
                    For your protection, Hawaii law requires you to be informed that presenting a fraudulent claim for payment of a loss
                    or benefit is a crime punishable by fines or imprisonment, or both.

                                                                  Applicable in Indiana
                    A person who knowingly and with Intent to defraud an insurer flies a statement of claim containing any false,
                    incomplete, or misleading information commits a felony.

                                                                Applicable in Minnesota
                    A person who files a claim with intent to defraud or helps commit a fraud against an insurer is guilty of a crime.

                                                                  Applicable in Nevada
                    Pursuant to NRS 686A.291, any person who knowingly and willfully files a statement of claim that contains any false,
                    incomplete or misleading information concerning a material fact Is guilty of a felony.

                                                            Applicable in New Hampshire
                    Any person who, with purpose to injure, defraud or deceive any insurance company, files a statement of claim
                    containing any false, incomplete or misleading information is subject to prosecution and punishment for insurance
                    fraud, as provided in RSA 638:20.

                                                                    Applicable in Ohio
                    Any person who, with intent to defraud or knowing that he/she is facilitating a fraud against an insurer, submits an
                    application or files a claim containing a false or deceptive statement is guilty of insurance fraud.

                                                                Applicable in Oklahoma
                    WARNING: Any person who knowingly and with Intent to Injure, defraud or deceive any insurer, makes any claim for
                    the proceeds of an insurance policy containing any false, incomplete or misleading information is guilty of a felony.


       ACORD 1 (2002/01)
       ~n.;INS001   (0111)                                                  Page 2 of 2
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                                Case 2:12-cv-02415-SGC Document 67-39 Filed 08/24/15 Page 96 of 111




                              From: Dora Sher [dora@shomerinsurance.com]
                              Sent: Wednesday, November 16,20111:24 PM
                              To: Steven Riss; Aaron Zolonz
                              Cc: Yossi; Debbie Delia; David Lightbourn
                              Subject: URGENT - Claim# ASI0278P - Fairfield Shopping Center DOL 2/17/11

                              Gentlemen: ·

                              There is a mix-up with the Date of Loss. The first report that we filed on 6/8/11 (copy
                              attached) with a DOL of 2/17/11 was erroneous. At that time we were given the copy of
                              a police report 2/17111 (copy attached) and therefore submitted the claim with that date
                              as DOL. If you read the 2nd page of the report you will see that it is a FOLLOW UP
                              report to the ones dated 11/20110 and 11122/10 THEREFORE the Date ofloss is
                              11/20/2010!

                              Please reopen your file and use DOL of 11/20/2010 to investigate and handle.


                              Please call me if you have any questions.

                              Best regards

                              Dora R. Sher, CIC, CPIW
                              General Manager
                              SHOMER INSURANCE AGENCY, INC
                              4221 Wilshire Blvd, Suite 222
                              Los Angeles, CA 900 10
                              (323) 934-8160
                              Fax: (323) 934-8170
                              dora@shomerinsurance.com<mailto:dora@shomerinsurance.com>
                              OC79888
                              IMPORTANT ANNOUNCEMENT:

                              WE HAVE MOVED!!! OUR NEW ADDRESS IS:
                              4221 Wilshire Boulevard, Suite 222
                              Los Angeles, California 90010

                              Our phone and fax numbers will not change.
                              Thank you in advance for your patience and understanding during the transition.




                                                                                                           Exhibit
                                                                                                             3
                                                                                                             4/18/12
                                                                                                      Joseph Schneerson
                                                                                                     Cathryn L. Baker, CSR 7695
                                         Case 2:12-cv-02415-SGC Document 67-39 Filed 08/24/15 Page 97 of 111

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                             Case 2:12-cv-02415-SGC Document 67-39 Filed 08/24/15 Page 98 of 111




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I hereby affirm that I have read this report and lhat all the lnformeUon given by me
correct to the besl of my knowledge. ·I will assume full responsibility for nolllylng
the           if any stolen properly or missing person herein reported Is returned.

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          Case
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                1 Cleared by Arrest (Juvenile)   A SuspeGt/Offender Dead
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              . 3 Unfounded                      C • Extradition Denied
               4   Exceptional Clearance:...:·~;,·.! D Vldtlm Refused to Cooperate                                              .....~ ~~-.1 ~· '
                                                                                                          ID#   78 Walch Cmdr
                5 Adminlstralivaly Cleared           E Juvenile (No Custody)
                                                     F Death of VIctim

                                                           TYPE OR PRINT iN
ft.
                                   Case 2:12-cv-02415-SGC Document 67-39 Filed 08/24/15 Page 102 of 111
                                                   ALABAMA UNIFORM INCIDEN                   FENSE REPORT




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                                                                                             OS Dept Store     , 16    Lakei.Water:way




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         R Reco              F Forged/                          10 Drugs
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                                                                13 Firearms
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                                                         A SuspecVOffender Dead
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                                                            Other Prosecution
                                                         C   Extradition Denied
                                                         D   Victim Refused to Cooperate
                                                         E   Juvenile (No Custody)
                                                         F   Death of Victim




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                Case 2:12-cv-02415-SGC Document 67-39 Filed 08/24/15 Page 103 of 111




                                                                                                                                                 34 Drugs/Narcotics Equlpmen·




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